 

----- Forwarded Message ----- Case 8:20-cv-02263-VMC-JSS Document 1-1 Filed 09/25/20 Page 1 of 1 PagelD 17
From: "Gajan Mahendiran" <gaj416@yahoo.com>

To: "Harsh Datta" <classdoctor@yahoo.com>

Cc: "Suren Ajjarapu" <ceo@sansurre.com>

Sent: Tue, Dec 15, 2015 at 12:23 PM

Subject: Nextgen Teaser.pdf

Hi Harsh,

 

1) If you and partners chose the straight loan route, the duration of loan is 3 years at 20% return per annum

2) if you and partners choose the partnership route then we are giving 8% partnership ; with this partnership Within 18 months you should have made principle back; in essence it will be around 70% return
annualized. Please look at Memantine teaser with projected financial summary.

3)This also indirectly answers your third question about partnership. The return is based on partnership with us on this molecule.
From our previous discussions, we put together shares in this molecule that will give a high rate of return on this molecule if this is the route you want to proceed with.

Also, as this relationship builds and you get comfortable with how we run the business we can partner with other molecules that are already in the pipeline.
Remember | want to point out that the security in this molecule for you and your partners investments comes from the fact we already have distribution network already built.

Let's set up a call tomorrow with you and your partner(s). Please let me know the time, Suren and | are flexible tomorrow.

Best regards,
Gajan

Sent from my iPhone
